             Case 20-41957            Doc 13       Filed 09/23/20        Entered 09/23/20 11:01:41              Desc Main
                                              UNITEDDocument    Page 1 ofCOURT
                                                     STATES BANKRUPTCY    1
                                              FOR THE EASTERN DISTRICT OF TEXAS
                                                      SHERMAN DIVISION


  IN RE:                                                             §                            CASE NO.          20-41957
  JASON CHRISTOPHER WARREN                                           §

  DEBTORS(S),                                                        §                             CHAPTER 13

                                           NOTICE OF APPEARANCE AND REQUEST
                                          FOR SERVICE OF NOTICES AND PLEADINGS

    PLEASE TAKE NOTICE that the undersigned hereby enters an appearance on behalf of:

    LAMAR CAD

 secured creditor(s) in the above-referenced proceedings. The undersigned hereby requests notice and copies of all motions notices,

 reports, briefs, applications, adversary proceedings, proposed orders, confirmed copies of orders, any proposed disclosure statement

 or plan of reorganization that has been filed with the court, any other documents or instruments filed in the above-referenced

 proceedings and any other matter in which notice is required pursuant to 11 U.S.C. Sec. 1109(b) and Bankruptcy Rules 2002(a) and

 (b), 3017(a), and 9013 of the Federal Rules of Bankruptcy Procedure.

    Copies should be mailed to the secured creditor(s) in care of the undersigned at the address set forth below.

                                                         Certificate of Service
                              23rd            Sept.
I do hereby certify that on          day of                ,2020, a copy of the above and foregoing has been this date served

electronically or mailed to the parties listed below:

    J. BRIAN ALLEN                                 CAREY D. EBERT
    P.O. BOX 1398                                  OFFICE OF CH 13 TRUSTEE
    SULPHUR SPRINGS, TX 74583                      P.O. BOX 941166
                                                   PLANO, TX 75094

                                                        LINEBARGER GOGGAN BLAIR & SAMPSON, LLP
                                                        2777 N. Stemmons Freeway
                                                        Suite 1000
                                                        DALLAS, TX 75207
                                                        Telephone: (214) 880-0089
                                                        Facsimile: (469) 221-5003
                                                        Email:      dallas.bankruptcy@publicans.com


                                                         By: /s/ Lisa Large Cockrell
                                                             Lisa Large Cockrell
                                                              SBN: 24036379 TX
